    23-10164-smr Doc#300 Filed 09/08/23 Entered 09/08/23 14:21:41 Ntc/Lft Stay Hrg BK
                                  (Robins)) Pg 1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 23−10164−smr
                                                                            No.:
                                                                    Chapter No.: 7
                                                                          Judge: Shad Robinson
IN RE: ASTRALABS Inc , Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   10/17/23 at 01:30 PM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 299 Motion for Relief from Stay
     (Filing Fee: $188.00) filed by Nathan Inurria for Creditor Elizabeth Bradford (Attachments: #1 Exhibit A #2
     Exhibit B #3 Proposed Order)) Hearing Scheduled For 10/17/2023 at 01:30 PM at Austin Courtroom 1 (Boyd,
     Laurie) . The debtor must file a response within 14 DAYS from the date of service of the above motion. If a
     response is NOT timely filed, NO HEARING WILL BE HELD and the relief requested in the motion will
     be granted after the expiration date. Prior court approval through CM/ECF is required to appear by WebEx or
     by phone for this hearing.


Dated: 9/8/23
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                     [Hearing Notice (BK)−TMD] [NtchrgBKtmdap]
